Case 23-15758-SLM         Doc 202-4 Filed 04/05/24 Entered 04/05/24 14:41:02          Desc
                              Proposed Order Page 1 of 2



  UNITED STATES BANKRUPTY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)
  McMANIMON, SCOTLAND
   & BAUMANN, LLC
  427 Riverview Plaza
  Trenton, NJ 08611
  609.695.6070
  ATTORNEYS FOR ANDREA DOBIN,
  CHAPTER 11 TRUSTEE

                                                      Case No. 23-15758(SLM)
  IN RE:
                                                      Hearing Date: May 7, 2024
  Supor Properties Bergen Avenue LLC,                 at 2:30 p.m.

                          Debtor.                     Honorable Stacey L. Meisel, U.S.B.J.




             ORDER ALLOWING FIRST AND FINAL ALLOWANCE OF FEES &
              EXPENSES TO McMANIMON, SCOTLAND & BAUMANN, LLC
                COUNSEL TO ANDREA DOBIN, CHAPTER 11 TRUSTEE

           The relief set forth on the following page number two (2) is hereby ORDERED.
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  (Page 2)
  Debtor: Supor Properties Bergen Avenue LLC
  Case No: 23-15758(SLM)
  Caption of Order: Order Allowing Fees & Expenses of Counsel to the Trustee




           THIS MATTER having been opened to the Court upon the Application of

  McManimon, Scotland & Baumann, LLC, counsel to the Trustee (the “Applicant”), in the

  above-captioned proceeding, for the entry of an Order allowing first and final allowance

  of fees and expenses to Applicant, and the Court having read and considered the

  Applicant’s Application and the supporting Affidavit, and notice of said Application

  having been given to the Office of the United States Trustee, Debtor and Debtor's

  counsel, and all others requesting electronic notice, and for other and good cause shown:

           IT IS ORDERED:

           1.       McManimon, Scotland & Baumann, LLC, counsel to the Trustee, is

  hereby granted first and final allowance on account of legal services rendered to the

  Trustee in the sum of $53,924.00 together with the sum of $1,524.33 for out-of-pocket

  disbursements, for a total allowance of $55,448.33 without prejudice to said counsel’s

  right to seek additional allowances.




  4884-4423-8003, v. 1




                                              2
